USCA Case #25-5057      Document #2105052        Filed: 03/11/2025    Page 1 of 22



            NOT YET SCHEDULED FOR ORAL ARGUMENT
                          No. 25-5057

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT

                              GWYNNE A. WILCOX,
                               Plaintiff-Appellee,
                                       v.
                           DONALD J. TRUMP, et al.,
                           Defendants-Appellants.

         On Appeal from the United States District Court for the
                 District of Columbia, No. 1:25-cv-334

   BRIEF OF AMICI CURIAE FLORIDA, ALABAMA, ARKANSAS,
    GEORGIA, IDAHO, INDIANA, IOWA, KANSAS, KENTUCKY,
        LOUISIANA, MISSISSIPPI, MISSOURI, MONTANA,
       NEBRASKA, NORTH DAKOTA, OKLAHOMA, SOUTH
   CAROLINA, SOUTH DAKOTA, TEXAS, UTAH, WEST VIRGINIA
      AND THE ARIZONA LEGISLATURE IN SUPPORT OF
    APPELLANTS’ EMERGENCY MOTION FOR STAY PENDING
                         APPEAL


                                       JAMES UTHMEIER
                                        Attorney General of Florida

                                       JEFFREY PAUL DESOUSA
                                        Acting Solicitor General
                                        Counsel of Record
 Office of the Attorney General        NATHAN A. FORRESTER
 PL-01, The Capitol                    DAVID M. COSTELLO
 Tallahassee, FL 32399-1050             Chief Deputy Solicitors General
 (850) 414-3300                        DARRICK W. MONSON
 jeffrey.desousa@                      ROBERT S. SCHENCK
   myfloridalegal.com                   Assistant Solicitors General

 March 11, 2025                        Counsel for Amici Curiae
USCA Case #25-5057    Document #2105052        Filed: 03/11/2025   Page 2 of 22



             CERTIFICATE AS TO PARTIES, FILINGS,
                    AND RELATED CASES

     Pursuant to D.C. Circuit Rule 28(a)(1), undersigned counsel certi-

fies the following:

     Parties, Intervenors, and Amici

     All parties, intervenors, and amici appearing before the district

court and in this Court are listed in Appellants’ stay application, except

for each of the amici submitting this brief.

     Rulings Under Review

     References to the rulings at issue appear in Appellants’ stay appli-

cation.

     Related Cases

     Gwynne A. Wilcox v. Donald J. Trump et al., No. 1:25-cv-334

(D.D.C.).




                                     i
USCA Case #25-5057               Document #2105052                    Filed: 03/11/2025           Page 3 of 22



                                    TABLE OF CONTENTS

CERTIFICATE AS TO PARTIES, FILINGS, AND RELATED
    CASES ............................................................................................... i

TABLE OF AUTHORITIES .....................................................................iii

INTEREST OF AMICI CURIAE............................................................... 1

ARGUMENT ............................................................................................. 1

I.      Historically, equity courts would not remedy allegedly
        unlawful removals. ........................................................................... 2

II.     Congress has displaced any removal-related equitable
        remedies through the writ of quo warranto. ................................... 8

III.    A court may not evade these limitations on equitable
        authority by ordering officials subordinate to the
        President to act as if an individual he removed still holds
        office. ................................................................................................. 9

CONCLUSION ........................................................................................ 13

CERTIFICATE OF COMPLIANCE ........................................................ 14

CERTIFICATE OF SERVICE................................................................. 15




                                                       ii
USCA Case #25-5057              Document #2105052                    Filed: 03/11/2025          Page 4 of 22



                                 TABLE OF AUTHORITIES

Cases

Andrade v. Lauer, 729 F.2d 1475 (D.C. Cir. 1984) ......................... 7, 8, 11

Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320
  (2015)..................................................................................................... 8

Att’y Gen. v. Earl of Clarendon, 17 Ves. Jr. 491, 34 Eng. Rep.
   190 (Ch. 1810) ....................................................................................... 3

Baker v. Carr, 369 U.S. 186 (1962) ........................................................... 6

Beebe v. Robinson, 52 Ala. 66 (1875)......................................................... 5

Berry v. Reagan, No. 83-3182, 1983 WL 538 (D.D.C. Nov. 14,
  1983) ...................................................................................................... 7

Bessent v. Dellinger, 145 S. Ct. 515 (2025) ....................................... 2, 6, 8

Case v. Beauregard, 101 U.S. 688 (1880) .................................................. 8

Cochran v. McCleary, 22 Iowa 75 (1867) .................................................. 4

Delahanty v. Warner, 75 Ill. 185 (1874) .................................................... 5

Delgado v. Chavez, 140 U.S. 586 (1891) ................................................. 12

Elgin v. Dep’t of Treasury, 567 U.S. 1 (2012) ............................................ 8

Georgia v. Stanton, 73 U.S. (6 Wall.) 50 (1867) ........................................ 3

Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc.,
  527 U.S. 308 (1999) ........................................................................... 2, 7

Hagner v. Heyberger, 7 Watts & Serg. 104 (Penn. 1844) ....................... 4

Heckler v. Ringer, 466 U.S. 602 (1984) ............................................. 12, 13

In re Sawyer, 124 U.S. 200 (1888)....................................... 2, 3, 4, 5, 6, 10

                                                      iii
USCA Case #25-5057              Document #2105052                   Filed: 03/11/2025          Page 5 of 22



Johnson v. Horton, 63 F.2d 950 (9th Cir. 1933) ....................................... 7

Nw. Airlines, Inc. v. Transport Workers, 451 U.S. 77 (1981) ................. 12

Pelicone v. Hodges, 320 F.2d 754 (D.C. Cir. 1963).................................. 12

PHH Corp. v. Consumer Fin. Prot. Bureau, 881 F.3d 75 (D.C.
  Cir. 2018)............................................................................................. 10

Russello v. United States, 464 U.S. 16 (1983) ........................................... 9

Sampson v. Murray, 415 U.S. 61 (1974) ................................................. 12

Seila Law LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197
   (2020)................................................................................................... 10

Severino v. Biden, 71 F.4th 1038 (D.C. Cir. 2023) ............................ 10, 11

Sheridan v. Colvin, 78 Ill. 237 (1875) ....................................................... 5

Stapf v. United States, 367 F.2d 326 (D.C. Cir. 1966) ............................ 11

State ex rel. McCaffery v. Aloe, 54 S.W. 494 (Mo. 1899) ........................... 5

Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83 (1998) .......... 7, 10, 12

Swan v. Clinton, 100 F.3d 973 (D.C. Cir. 1996) ............................... 10, 11

Tappan v. Gray, 9 Paige Ch. 507 (Ch. Ct. N.Y. 1842) .............................. 4

Taylor v. Kercheval, 82 F. 497 (C.C.D. Ind. 1897) .................................... 5

United States v. Old Dominion Boat Club, 630 F.3d 1039
  (D.C. Cir. 2011) ................................................................................... 11

Vitarelli v. Seaton, 359 U.S. 535 (1959) .............................................. 7, 12

Walton v. House of Representatives of Okla., 265 U.S. 487
  (1924)........................................................................................... 2, 6, 10

Webster v. Fall, 266 U.S. 507 (1925) ....................................................... 11

                                                      iv
USCA Case #25-5057              Document #2105052                    Filed: 03/11/2025          Page 6 of 22



Whitcomb v. Chavis, 403 U.S. 124 (1971) ................................................. 2

White v. Berry, 171 U.S. 366 (1898) .......................................................... 6

Statutes

42 U.S.C. § 2000e-5 ................................................................................... 1

D.C. Code § 16-3501 et seq. (2024) ...................................................... 8, 13

D.C. Code § 16-3545 ........................................................................ 8, 9, 10

D.C. Code § 16-3546 .................................................................................. 9

D.C. Code § 16-3547 .................................................................................. 9

D.C. Code § 16-3548 ............................................................................ 9, 10

Rules

D.C. Circuit Rule 29 .................................................................................. 1

Other Sources

Eugene McQuillin, A Treatise on the Law of Municipal
  Corporations (1911) .............................................................................. 5

Howard Clifford Joyce, A Treatise on the Law Relating to
  Injunctions (1909) ................................................................................. 5

James L. High, Extraordinary Legal Remedies (1896)........................... 12

James L. High, Treatise on the Law of Injunctions (2d ed.
  1880) ...................................................................................................... 5

John Norton Pomeroy, A Treatise on Equity Jurisprudence
  (4th ed. 1918) ........................................................................................ 5

Joseph Story, Commentaries on Equity Pleadings and the
  Incidents Thereof (2d ed. 1840)............................................................. 3


                                                       v
USCA Case #25-5057              Document #2105052                   Filed: 03/11/2025          Page 7 of 22



Letter from John Adams to the Inhabitants of the Colony of
  Massachusetts-Bay, April 1775 ........................................................... 3

Nikolas Bowie, Why the Constitution Was Written Down, 71
  Stan. L. Rev. 1397 (2018) ..................................................................... 3

Seth Davis, Empire in Equity, 97 Notre Dame L. Rev. 1985
  (2022)..................................................................................................... 3

W.S. Holdsworth, English Corporation Law in the 16th and
  17th Centuries, 31 Yale L.J. 382 (1922) .............................................. 4




                                                      vi
USCA Case #25-5057    Document #2105052       Filed: 03/11/2025   Page 8 of 22



                     INTEREST OF AMICI CURIAE

     Pursuant to D.C. Circuit Rule 29, the Attorney General of Florida,

on behalf of Florida, Alabama, Arkansas, Georgia, Idaho, Indiana, Iowa,

Kansas, Kentucky, Louisiana, Mississippi, Missouri, Montana, Ne-

braska, North Dakota, Oklahoma, South Carolina, South Dakota, Texas,

Utah, West Virginia and the Arizona Legislature, submits this brief as

amici curiae in support of the stay motion. Amici have an interest in en-

suring that federal officials exercising significant executive authority are

removable by the President, and thus accountable to the people. Any-

thing less is inconsistent with the Framers’ design and risks intrusion on

state sovereignty.

                              ARGUMENT

     As the Government explains, the district court erred on the merits.

See Emerg. Mot. for Stay, No. 25-5057 at 8–18. But the court also erred

on the remedy. Federal courts may not use their equitable powers to rem-

edy unlawful removals absent an act of Congress. See, e.g., 42 U.S.C.

§ 2000e-5(g) (authorizing courts to “reinstate[]” employees who suffer dis-

crimination). Yet the district court rendered that rule a nullity. It rein-

stated Wilcox “de facto,” DE35 at 32, by enjoining executive branch



                                     1
USCA Case #25-5057     Document #2105052      Filed: 03/11/2025   Page 9 of 22



officials “from removing plaintiff from her office without cause or in any

way treating plaintiff as having been removed,” DE34 at 2. That maneu-

ver flouts both the Supreme Court’s equity precedents and Congress’s de-

cision to channel removal challenges through quo-warranto proceedings.

A stay is warranted.

I.   Historically, equity courts would not remedy allegedly un-
     lawful removals.

     “The remedial powers of an equity court . . . are not unlimited.”

Whitcomb v. Chavis, 403 U.S. 124, 161 (1971). Federal courts may issue

only equitable remedies “traditionally accorded by courts of equity.” Bes-

sent v. Dellinger, 145 S. Ct. 515, 517 (2025) (Gorsuch, J., joined by Alito,

J., dissenting) (quoting Grupo Mexicano de Desarrollo S.A. v. All. Bond

Fund, Inc., 527 U.S. 308, 319 (1999)). And history teaches that “[a] court

of equity has no jurisdiction over the appointment and removal of public

officers.” Walton v. House of Representatives of Okla., 265 U.S. 487, 490

(1924); Dellinger, 145 S. Ct. at 517 (Gorsuch, J., dissenting) (finding it

“well settled that a court of equity has no jurisdiction over the appoint-

ment and removal of public officers” (quoting In re Sawyer, 124 U.S. 200,

212 (1888)).




                                     2
USCA Case #25-5057    Document #2105052        Filed: 03/11/2025   Page 10 of 22



      That rule flows from English common law. Recognizing the critical

“distinction between judicial and political power,” traditional English

courts would not wield equity to vindicate a litigant’s “political right[]” to

office. Georgia v. Stanton, 73 U.S. (6 Wall.) 50, 71, 76 & n.20 (1867) (col-

lecting cases); see Sawyer, 124 U.S. at 212 (collecting cases, including At-

torney General v. Earl of Clarendon, 17 Ves. Jr. 491, 498, 34 Eng. Rep.

190, 193 (Ch. 1810)). In Earl of Clarendon, for instance, the English

Court of Chancery declined to remove public-school officers on the ground

that they lacked necessary legal qualifications. 34 Eng. Rep. at 191. Ac-

cording to that court, a court of equity “has no jurisdiction with regard

either to the election or the [removal] of” officers. Id. at 193. Contempo-

rary English cases agreed. See Joseph Story, Commentaries on Equity

Pleadings and the Incidents Thereof §§ 467–70 (2d ed. 1840) (explaining

that traditional equity courts would not adjudicate rights of a “political

nature”); Seth Davis, Empire in Equity, 97 Notre Dame L. Rev. 1985,

2011–12 (2022).1




      1 Although Earl of Clarendon and some cases cited in Sawyer in-

volved corporate officers, those legal entities were historically treated
more like governments and public entities. Colonial governments, for
instance, were created through corporate charters, with “shareholders”

                                      3
USCA Case #25-5057   Document #2105052       Filed: 03/11/2025   Page 11 of 22



      American courts imported that principle after the Framing. In the

early 19th century, courts nationwide denied equitable relief to removed

officials, even when the official’s ouster was illegal and unauthorized.

Tappan v. Gray, 9 Paige Ch. 506, 508–09 (Ch. Ct. N.Y. 1842); see also

Hagner, 7 Watts & Serg. at 105; Sawyer, 124 U.S. at 212 (collecting

cases). Hagner is emblematic. There, the Supreme Court of Pennsylvania

declined to enjoin a defendant from unlawfully acting as a school director

because it possessed no more power than “an English court of chancery.”

Hagner, 7 Watts & Serg. at 106–07. Because chancery courts tradition-

ally “would not sustain the injunction proceeding to try the election or

[removal] of corporators of any description,” Pennsylvania’s high court




acting like modern-day voters and voting for corporate boards that
looked like modern-day state and local governments. Nikolas Bowie,
Why the Constitution Was Written Down, 71 Stan. L. Rev. 1397, 1416–
21 (2018); see also Letter from John Adams to the Inhabitants of the
Colony of Massachusetts-Bay, April 1775, https://founders.archives.
gov/documents/Adams/06-02-02-0072-0015. And as noted in Hagner v.
Heyberger, limits on equitable jurisdiction that applied to “private cor-
porations” apply “à fortiori” to “public officer[s] of a municipal charac-
ter.” 7 Watts & Serg. 104, 105 (Penn. 1844); see also W.S. Holdsworth,
English Corporation Law in the 16th and 17th Centuries, 31 Yale L.J.
382, 383–84 (1922) (For both public and private corporations, “creation
by and subordination to the state are the only terms upon which the
existence of large associations of men can be safely allowed to lead an
active life.”).

                                    4
USCA Case #25-5057     Document #2105052      Filed: 03/11/2025   Page 12 of 22



held that it could not either. Id. Other courts took a similar tack through-

out Reconstruction.2

      The Supreme Court confirmed that historical equitable constraint

in Sawyer. A locally elected officer there obtained a federal injunction

barring local officials from removing him. 124 U.S. at 204–06. After the

local officials were held in contempt of that injunction, the Court issued

a writ of habeas corpus to vacate their convictions because the injunction

was issued without jurisdiction. The Court explained that a federal eq-

uity court “has no jurisdiction . . . over the appointment and removal of

public officials.” Id. at 210. And a wall of contemporary treatises echoed

that understanding.3 As one 19th-century commentator put it, “[n]o prin-

ciple of the law of injunctions” “is more definitely fixed or more clearly



      2 See, e.g., Cochran v. McCleary, 22 Iowa 75, 91 (1867) (“The right

to a public office or franchise cannot, as the authorities above cited show,
be determined in equity.”); Sheridan v. Colvin, 78 Ill. 237, 247 (1875) sim-
ilar); Delahanty v. Warner, 75 Ill. 185, 186 (1874) (similar); Beebe v. Rob-
inson, 52 Ala. 66, 73 (1875) (similar); Taylor v. Kercheval, 82 F. 497, 499
(C.C.D. Ind. 1897) (similar); State ex rel. McCaffery v. Aloe, 54 S.W. 494,
496 (Mo. 1899) (similar).
      3 See 2 James L. High, Treatise on the Law of Injunctions § 1312 (2d

ed. 1880); 1 Howard Clifford Joyce, A Treatise on the Law Relating to In-
junctions § 55 (1909); 4 John Norton Pomeroy, A Treatise on Equity Ju-
risprudence § 1760 (4th ed. 1918); 2 Eugene McQuillin, A Treatise on the
Law of Municipal Corporations § 582 n.98 (1911).

                                     5
USCA Case #25-5057    Document #2105052       Filed: 03/11/2025   Page 13 of 22



established than that courts of equity will not interfere by injunction to

determine questions concerning the appointment of public officers or

their title to office.” 2 High, Law of Injunctions § 1312.

      The Supreme Court has doubled down on that rule. A decade after

Sawyer, the Court reiterated that equity courts may “not, by injunction,

restrain an executive officer from making a wrongful removal of a subor-

dinate appointee, nor restrain the appointment of another.” White v.

Berry, 171 U.S. 366, 377 (1898). The Court restated the point in Walton:

While federal courts are “particularly . . . without jurisdiction over the

appointment and removal of state officers,” they no more possess “juris-

diction over the appointment and removal of [other] public officers.” 265

U.S. at 490 (emphasis added). And it repeated the principle in Baker v.

Carr—“federal equity power [may] not be exercised to enjoin a state pro-

ceeding to remove a public officer.” 369 U.S. 186, 231 (1962).

      By contrast, there is no established tradition of equity courts rem-

edying unlawful removals, at least not without express statutory author-

ization. See Dellinger, 145 S. Ct. at 517 (Gorsuch, J., dissenting) (“‘No

English case’ involved ‘a bill for an injunction to restrain the appointment

or removal of a municipal officer.’” (quoting Sawyer, 124 U.S. at 212)). We


                                     6
USCA Case #25-5057   Document #2105052        Filed: 03/11/2025   Page 14 of 22



know of only two cases4 in which a federal court reinstated a removed

officer, all of which were decided in the later 20th century, and none of

which grappled with the limits on federal remedial power. See Steel Co.

v. Citizens for a Better Env’t, 523 U.S. 83, 91 (1998) (“[D]rive-by” rulings

have “no precedential effect.”). The lack of historical pedigree for re-

moval-related remedies proves that they were “unknown to traditional

equity practice.” Grupo Mexicano, 527 U.S. at 327.

      The absence of a historical equitable remedy is confirmed by the

presence of a historical legal remedy: the writ of quo warranto. As this

Court has acknowledged, “the exclusive remedy” for “direct[ly] at-

tack[ing]” one’s removal has traditionally been “a quo warranto action.”

Andrade v. Lauer, 729 F.2d 1475, 1497 (D.C. Cir. 1984); see also Johnson

v. Horton, 63 F.2d 950, 953 (9th Cir. 1933) (agreeing with appellees that

“the question of the title to the office cannot be tried by a proceeding in

equity, but that the exclusive remedy is by a writ of quo warranto” (quo-

tation omitted)). And because a “court of equity will not entertain a case




      4 Berry v. Reagan, No. 83-3182, 1983 WL 538 (D.D.C. Nov. 14, 1983),

vacated as moot, 732 F.2d 949 (D.C. Cir. 1983); Vitarelli v. Seaton, 359
U.S. 535 (1959).

                                     7
USCA Case #25-5057   Document #2105052        Filed: 03/11/2025   Page 15 of 22



for relief where the complainant has an adequate legal remedy,” the

longstanding “availability of quo warranto” undercuts any “novel equita-

ble power to return an agency head to his office.” Dellinger, 145 S. Ct. at

517 (Gorsuch, J., dissenting) (quoting Case v. Beauregard, 101 U.S. 688

(1880)).

II.   Congress has displaced any removal-related equitable rem-
      edies through the writ of quo warranto.

      Even if equity courts historically could have remedied improper re-

movals, Congress has “displace[d] [that] equitable relief,” Armstrong v.

Exceptional Child Ctr., Inc., 575 U.S. 320, 329 (2015), through the quo

warranto framework in D.C. Code § 16-3501 et seq. (2024). That frame-

work establishes a comprehensive judicial mechanism for determining

whether an officer of the United States has “usurped, intruded into, or

unlawfully held or exercised an office” belonging to a removed official.

D.C. Code § 16-3545; see Andrade, 729 F.2d at 1497–98. “Given the pains-

taking detail with which the [Code] sets out the method” for challenging

a removal, “Congress intended” the Code to be the “exclusive” process for

testing one’s title to office. Elgin v. Dep’t of Treasury, 567 U.S. 1, 11–13

(2012).




                                     8
USCA Case #25-5057    Document #2105052       Filed: 03/11/2025   Page 16 of 22



      That process, however, does not authorize novel equitable relief in

cases involving a federal official. In such cases, courts may only “oust[]”

the “usurpe[r]” from office, D.C. Code § 16-3545, and award “damages

sustained by” the removed official, id. § 16-3548. Nor are equitable rem-

edies implied by the provision governing federal officials, id. § 16-3545,

for those remedies are expressly authorized in different Code provisions

relating exclusively to corporate officers. See D.C. Code §§ 16-3546 (au-

thorizing courts to “perpetually restrain[] and enjoin[]” “persons acting

as a corporation without being legally incorporated” in the District), -

3547 (“the court may render judgment . . . that the relator, if entitled to

be declared elected, be admitted to the office”). The “inclu[sion of] partic-

ular language” authorizing remedies in other sections suggests that Con-

gress “intentionally and purposely” omitted those remedies in the section

governing federal officers. Russello v. United States, 464 U.S. 16, 23

(1983).

III. A court may not evade these limitations on equitable au-
     thority by ordering officials subordinate to the President to
     act as if an individual he removed still holds office.

      Nothing in the district court’s order justifies enjoining executive

branch officials from “removing plaintiff” or “treating [her] as having



                                     9
USCA Case #25-5057   Document #2105052        Filed: 03/11/2025   Page 17 of 22



been removed.” DE34 at 2. That move defies Supreme Court precedent.

See Walton, 265 U.S. at 490 (A federal “court of equity has no jurisdiction

over the appointment and removal of public officers.”). And it ignores that

Congress has displaced all removal-related remedies except damages and

ouster. See D.C. Code §§ 16-3545, -3548.

      No authority cited by the district court supports its novel relief.

This Court’s decisions in Swan v. Clinton, 100 F.3d 973 (D.C. Cir. 1996),

and Severino v. Biden, 71 F.4th 1038 (D.C. Cir. 2023)), as the Govern-

ment points out, only assessed for standing purposes whether there was

a “likelihood” that the court could issue an injunction sufficient to remedy

the challenged removal. See Steel Co., 523 U.S. at 103. That standing

question did not resolve whether those injunctions could lawfully issue

after adjudicating the merits. Even more, nobody in those cases men-

tioned the Sawyer line of decisions, and “it is black-letter law that cases

are not precedent for issues that were not raised or decided.” PHH Corp.

v. Consumer Fin. Prot. Bureau, 881 F.3d 75, 195 (D.C. Cir. 2018) (Ka-

vanaugh, J., dissenting), abrogated by Seila Law LLC v. Consumer Fin.

Prot. Bureau, 591 U.S. 197 (2020). Whether Sawyer bars the injunctions

theorized in those cases “merely lurk[ed] in the record,” Webster v. Fall,


                                    10
USCA Case #25-5057   Document #2105052        Filed: 03/11/2025   Page 18 of 22



266 U.S. 507, 511 (1925), so neither case “constitute[s] precedent[]” on

the issue, Stapf v. United States, 367 F.2d 326, 330 (D.C. Cir. 1966).

      Any other reading of Swan and Severino would conflict with an ear-

lier precedent of this Court: Andrade v. Lauer. In Andrade, the Court

accepted that “the exclusive remedy” for a “‘direct’ attack” on removal “is

a quo warranto action,” not a suit in equity. 729 F.2d at 1497. Though the

Court carved out a narrow equitable exception through which a court

may “indirect[ly]” remedy a removal by “restrain[ing] invalidly appointed

officers” from performing their duties, id. at 1496–98, it left intact the

general principle that direct efforts to confirm entitlement to office must

travel through quo warranto, see id. at 1497–99. That principle flatly con-

tradicts the injunctions proposed in Swan and Severino. And because An-

drade predates both cases, it is the controlling precedent. United States

v. Old Dominion Boat Club, 630 F.3d 1039, 1045 (D.C. Cir. 2011).

      Nor do the cases string cited in the district court’s footnote provide

support. DE35 at 33 n.22. The Supreme Court did not bless reinstate-

ment in Sampson v. Murray—it did just the opposite. Sampson ques-

tioned whether reinstatement was a permissible equitable remedy and

avoided the question by denying relief for lack of irreparable harm. 415


                                    11
USCA Case #25-5057    Document #2105052      Filed: 03/11/2025   Page 19 of 22



U.S. 61, 69–72, 83–84 (1974). Even further afield is Pelicone v. Hodges,

320 F.2d 754 (D.C. Cir. 1963), which discussed a statutory reinstatement

remedy, not the federal courts’ baseline equitable power. And Vitarelli

constitutes a mere “drive-by” remedial ruling with “no precedential ef-

fect.” Steel Co., 523 U.S. at 91.

      Last, the district court wrongly suggested in the alternative that

“mandamus would likely be available,” which Wilcox never sought other

than in a “Notice of Supplemental Authority.” See DE35 at 33 n.22. As

the Government notes, the duties implicated here are far from “clear.”

Heckler v. Ringer, 466 U.S. 602, 615–16 (1984). What is more, Congress

enacted the quo warranto and mandamus statutes on common-law back-

drop that established quo warranto as “the only efficacious and specific

remedy” for “testing the title to an office.” James L. High, Extraordinary

Legal Remedies § 49 (1896); see also Delgado v. Chavez, 140 U.S. 586, 590

(1891). By establishing the “comprehensive” “remedial scheme” in the

quo warranto statute, Congress “strongly evidence[d] an intent not to au-

thorize additional remedies,” like mandamus. Nw. Airlines, Inc. v.

Transport Workers, 451 U.S. 77, 93–94 (1981). And even then, mandamus

is available “only if [the plaintiff] has exhausted all other avenues of


                                    12
USCA Case #25-5057   Document #2105052        Filed: 03/11/2025   Page 20 of 22



relief,” Heckler, 466 U.S. at 615–16, and Wilcox has left quo warranto on

the table. See D.C. Code § 16-3501 et seq. Those grounds foreclose man-

damus.

                            CONCLUSION

      The stay should be granted.



Dated: March 11, 2025            Respectfully submitted,

                                    JAMES UTHMEIER
                                     Attorney General of Florida

                                     /s/ Jeffrey Paul DeSousa
                                    JEFFREY PAUL DESOUSA
                                     Acting Solicitor General
                                    NATHAN A. FORRESTER
                                    DAVID M. COSTELLO
                                     Chief Deputy Solicitors General
                                    DARRICK W. MONSON
                                    ROBERT S. SCHENCK
                                     Assistant Solicitors General
                                    State of Florida
                                    Office of the Attorney General
                                    PL-01, The Capitol
                                    Tallahassee, FL 32399-1050
                                    (850) 414-3300
                                    jeffrey.desousa@myfloridalegal.com

                                    Counsel for Amici Curiae




                                     13
USCA Case #25-5057   Document #2105052      Filed: 03/11/2025   Page 21 of 22



                 CERTIFICATE OF COMPLIANCE

      This amicus brief complies with the type-volume limit of Federal

Rule of Appellate Procedure 29(a)(5) because it contains 2,600 words.

This brief also complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 32(a)(5)–(6) because it was prepared

using Word for Microsoft 365 in 14-point Century Schoolbook, a propor-

tionally spaced typeface.

                                      /s/ Jeffrey Paul DeSousa
                                    Jeffrey Paul DeSousa
                                    Acting Solicitor General




                                   14
USCA Case #25-5057   Document #2105052       Filed: 03/11/2025   Page 22 of 22



                     CERTIFICATE OF SERVICE

      I certify that on March 11, 2025, I caused this document to be elec-

tronically filed with the Clerk of Court using this Court’s CM/ECF sys-

tem, which will send a notice of docketing activity to all parties who are

registered through CM/ECF.

                                       /s/ Jeffrey Paul DeSousa
                                     Jeffrey Paul DeSousa
                                     Acting Solicitor General




                                   15
